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                                                                  CAUSE NO. CL-l9-l880-H
THE STATE OF TEXAS
COUNTY OF HIDALGO

NOTICE TO DEFENDANT: “You           have been sued. You may employ an attorney. If you or your attorney do not ﬁle a
written answer with the clerk             who
                                   issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty (20) days aﬁer you were served this citation and petition, a defaultjudgment may be taken against you.”


              To:       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
                        AGENT FOR SERVICE, C T CORPORATION SYSTEM
                        1999 BRYAN STREET SUITE 900
                        DALLAS TX 75201


GREETINGS:                YOU ARE HEREBY COMMANDED TO APPEAR by ﬁling a written answer to the Plaintiff’s petition at
or before 10 o’clock            A.M. on or before the Monday next aﬁer the expiration of twenty (20) days aﬁer the date of service
hereof, before the            Honorable County Court At Law #8 of Hidalgo County, Texas, by and through the Hidalgo County
Clerk         at    100 N. Closner, First Floor, Edinburg, Texas 78539.


Said Plaintiff’s Petition was ﬁled in said Court, on the 8th day of April, 2019 in this Cause                Numbered CL-19-l880-H on
the docket of said Court, and styled,


                                                                    SANDRA LUEVANO
                                                                            vs.
                                  ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

The       nature of Plaintiff‘s    demand   is   fully   shown by a true and correct copy of Plaintiff’s Original   Petition   And Request For
Disclosure accompanying this Citation and                  made a pan hereof.

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  OMAR OCHOA
         121 N 10TH STREET
         MCALLEN TX 78501

The ofﬁcer executing            this citation shall    promptly serve the same according to requirements of law, and the mandates
hereof, and make due            return as the    law   directs.


ISSUED              AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at Edinburg, Texas this                              11th day of April,
20   l   9.



                                                                         ARTURO GUAJARDO, JR.
                                                                         COUNTY CLERK, HIDALGO COUNTY, TEXAS
                                                                         100 N. CLOSNER
                                                                         EDINBURG, TEXAS 78539
                                                                         COUNTY COURT AT LAW #8

                                                                         BY   Wm «ammo    ALMA‘NAVARRO
                                                                                                                           DEW


                                                                                                                        EXHIBIT B
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SHERIFF’S/CONSTABLE’S/CIVIL PROCESS

SHERIFF’S               RETURN
              Came
              to hand on the           day of                                                          ,   20       ,   at                   o’clock               M., by
Deputy (Sheriff/ConstableyCivil Process Sewer and to-wit the following:

DEFENDANT SERVED

              Service        was   EXECUTED on the above referenced Defendant,    in person, in Hidalgo County, Texas and served with a true

copy of this        Citation, with the date   of delivery endorsed thereon, together with the accompanying copy of the Plaintiff‘s Petition, at the
following
Date, time, and place, to-wit:


             NAME                                       DATE                      TIME                PLACE


             By:                                                                               By:
                               CIVIL PROCESS    SERVER                                                     DEPUTY SHERIFF/CONSTABLE

DEFENDANT NOT SERVED
     Service was ATTEMPTED at the above address on the above referenced Defendant on the                                              following date(s) and time(s), but
to   no   avail:


             NAME                                 DATE                           TIME                      PLACE

             NAME                                 DATE                           TIME                      PLACE

             NAME                                 DATE                           TIME                      PLACE


             By;                                                                     By:
                               CIVIL PROCESS    SERVER                                         DEPUTY SHERIFF/CONSTABLE


                                      COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,
                                             CONSTABLE OR CLERK OF THE COURT
In   accordance to rule 107, the ofﬁcer or authorized person                   who     serves or attempts to serve a citation         must sign the     return.   Ifthe return
issigned by a person other than a sheriff, constable or the clerk of the coun, the return must either be veriﬁed or be sigled under the
penalty ofperjury. A return signed under penalty of perjury must contain the statement below in substantially the following form:


“My name           is                                         ,   my date   of birth   is                           and      my    address   is



                                                    .   I   declare under penalty of perjury that the foregoing               is   true   and correct

EXECUTED                in                   County,    state     of Texas, on the     _    day of              ,
                                                                                                                    20




DECLARANT


If Certiﬁed        by    the   Supreme Court of Texas
Date of Expiration             /SCH Number
                                       Case 7:19-cv-00140 Document 1-2 Filed on 04/25/19 in TXSD Page 3 of 27

           5‘.   Wm“
          HQ»;/
             ‘l‘M‘

         ARTURO GUAJARDO. JR.
         HIDALGO COUNTY CLERK
         100 N CLOSNER
         PO BOX 58
         EDINBURG.TX 78540-0058
                                                                                                9214 8901 0661 5400 0137 0443 48
         RETURN RECEIPT (ELECTRONIC)




         CL-1 9-1 880-H
         ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY
         AGENT FOR SERVICE, C T CORPORATION SYSTEM
         1999 BRYAN ST STE 900
         DALLAS, TX 75201 -3140




                                                                                                                                        CUT     :‘
                                                                                                                                                     FOLD.   HERE




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                               CAUSE NUMBER

SANDRA LUEVANO                                          §              IN   THE COUNTY COURT
Plaintiff,                                              §

                                                        §
VS.                                                     §             AT LAW NO.
                                                        §
ALLSTATE VEHICLE AND PROPERTY                           §
INSURANCE COMPANY                                       §
Defendant                                               §             HIDALGO COUNTY, TEXAS


      PLAINTIFF’S ORIGINAL PETITION                      AND REQUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW      COMES,          SANDRA              LUEVANO           (hereinafter     referred   t0   as


(“PLAINTIFF”), and ﬁles her Original Petition against                       DEFENDANT, ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY,                                     and would respectfully show


the Court the following:


                                            I.        Discovery

        Pursuant t0 Rule 47 of the Texas Rules of Civil Procedure,                     PLAINTIFF    seeks


damages 0f monetary       relief 0f   $100,000 or      less.   Speciﬁcally,    PLAINTIFF   seeks damages


0f monetary   relief   of no more than $75,000.00.             PLANTIFF       intends t0 conduct discovery


pursuant to a Level 2 Discovery Control Plan.


                                      II.          Service 0f Process


        ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY, may                                            be


served with process by serving citation and a copy 0f this Original Petition by Certiﬁed


Mail Return Receipt Requested 0n             its   agent for service     at:   C T   Corporation System,


1999 Bryan    Street, Suite 900, Dallas,           Texas 75201.
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             ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                              is   in the


business 0f providing insurance in the State of Texas. The insurance business done                                 by

ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                          in    Texas

includes, but     is   not limited to the following:


        1.        The making and          issuing of contracts 0f insurance With the            PLAINTIFF;

        2.        The taking or receiving of application                      for    insurance,     including     the


                  PLAINTIFF’S           application for insurance;


                  The receiving or           collection    of premiums, commissions, membership                 fees,


                  assessments, dues or other consideration for any insurance or any part


                  thereof,       including       any     such   consideration        0r    payments     from      the


                  PLAINTIFF;

                  The issuance or delivery 0f contracts of insurance                 to residents   0f this   state or


                  a person authorized to do business in this              state,   including the   PLAINTIFF;

                  The adjusting and inspection 0f PLAINTIFF’S insurance claims;

                  Making insurance coverage               decisions;


                  Taking part      in   making insurance coverage          decisions;     and

                  Making     representations to          PLAINTIFF       as being an agent for an insurance


                  company With          authority t0     make coverage     decisions;


                                               III.   Jurisdiction   and Venue

             Venue 0f this   action     is   proper in   HIDALGO        County, Texas because: the policy           at



issue   was issued and delivered               in     HIDALGO        County, Texas; the property insured            is



situated in      HIDALGO          County, Texas; PLAINTIFF’S losses occurred in                        HIDALGO

County, Texas, and         all   or part of the events       made     the basis of this lawsuit and giving rise


t0   PLAINTIFF’S         claims and causes 0f action occurred in             HIDALGO        County, Texas.
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                                                 IV.         Facts


           ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                         and/or   its



agents committed the actions alleged against                   PLAINTIFF   in this petition.   PLAINTIFF

owns     the property located     at:   3025 Maria Luiza Dr. Edinburg, Texas 78539 With Policy #

4808803951;         C1aim#       0512470139.           ALLSTATE VEHICLE AND                    PROPERTY

INSURANCE COMPANY                       provided coverage to the       PLAINTIFF      for such building,


personal property, and other matter. During the term of said policy,                           PLAINTIFF

sustained covered losses in the form 0f a              ﬂood damage event 0n or about June          20,   2018

in   HIDALGO       County, and water damages resulting thereﬁom, including damage to the


architectural      ﬁnishes      of the     property.     PLAINTIFF promptly         reported      losses    t0


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                          pursuant to the


terms of the insurance policy.             As    a result,    PLAINTIFF’S property    sustained damage,


including the cost of destruction and restoration of the property necessary t0 access and


ﬁx   the   damaged     areas.     These are covered damages under PLAINTIFF’S insurance


policy with       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY.

PLAINTIFF        has been damaged in an amount in excess 0f the                 minimum        jurisdictional


limits   of   this Court, including injuries sustained as a result          of having conduct business

during the pendency of             ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY'S          conduct.


                                            V.         Conditions Precedent


           A11 conditions precedent have been waived by the insurance company, have been


performed by      Plaintiff,   or have otherwise been satisﬁed. Despite these facts,           ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                                     has failed and reﬁlsed to pay


PLAINTIFF        a just   amount   in    accordance With their contractual obligations, agreements,
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and representations. Moreover, Defendant’s claims                         that Plaintiff did not      comply with the

contract are barred        by waiver, based 0n Defendant’s breach and noncompliance with                                  the


material terms 0f the insurance contract. Generally,                        When one    party t0 contract commits


material breach, the other party                  is    discharged 0r excused from further performance.


Mustang Pipeline          C0,, Inc.   v.   Driver Pipeline C0. Ina, 134 S.W.3d 195, 196 (TeX. 2004).


                                              VI. Breach of Contract


          PLAINTIFF purchased an                   insurance policy with          ALLSTATE VEHICLE AND

PROPERTY INSURANCE COMPANY. PLAINTIFF’S                                           property was damaged by the


ﬂood, which     is   a covered loss under the insurance policy.                       ALLSTATE VEHICLE AND

PROPERTY INSURANCE COMPANY                                        has    denied   and/or       delayed      payment        of

PLAINTIFF’S covered               claims.   ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY             has    no     reasonable           basis     for   denying,   delaying,      or      failing    to    pay

PLAINTIFF’S           claims       for     damages.            ALLSTATE VEHICLE AND PROPERTY

INSURANCE COMPANY knew                                 0r should have         known     that     there    was n0 such

reasonable basis t0 deny, delay, and                   fail t0   pay such   claims.    The conduct of ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY was                                                         irresponsible          and

unconscionable.       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

took advantage 0f the PLAINTIFF’S lack 0f sophistication in insurance and construction


matters    t0   a    grossly       unfair     degree.            ALLSTATE VEHICLE AND PROPERTY

INSURANCE COMPANY                          has,    by      its    conduct,    breached     its    contract         With   the


PLAINTIFF. The conduct of ALLSTATE VEHICLE                                    AND PROPERTY INSURANCE
COMPANY has proximately caused the injuries and damages to the PLAINTIFF.
                           VII.       Second Cause 0f Action:               DTPA Violations
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       PLAINTIFF        is   a consumer entitled to relief under the Texas Deceptive Trade


Practices—Consumer Protection Act                    (“DTPA”).     By     its   conduct     outlined     above,


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                              has engaged in


the following Violations of the           DTPA        which, together and separately, have been a


producing cause 0f PLAINTIFF’S damages:


(a)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY made

       false representations       about PLAINTIFF’S rights, remedies, and obligations under


       the policies at issue. These statements               were a misrepresentation of the insurance

       policies   and   their   beneﬁts in Violation of §§17.46(b)(5),           (7),   (12) and (14), Texas


       Business    & Commerce Code;

(b)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S                                                actions


       constitute an unconscionable course of conduct entitling                     PLAINTIFF          to relief


       under §17.50(a)(1),        (2), (3),   and   (4)   0fthe Texas Business    & Commerce Code;

(C)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                 failed t0


       disclose information t0          PLAINTIFF concerning              the nature and extent of their


       insurance    policy,       Which       was     known by          ALLSTATE VEHICLE AND

       PROPERTY INSURANCE COMPANY                              at the   time for the purpose of inducing


       PLAINTIFF        into transactions       which she would not have otherwise entered                    in


       Violation 0f section 17.46(b)(9) and (23), Texas Business and                    Commerce Code;

(d)    As   described above,        ALLSTATE VEHICLE AND PROPERTY INSURANCE

       COMPANY          violated Chapter 541, Texas Insurance Code, entitling                   PLAINTIFF

       to reliefunder section 17.50(a)(4),            Texas Business and Commerce Code.

       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                     took


advantage 0f PLAINTIFF’S lack 0f knowledge in construction and insurance claims
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processes,   misrepresented losses covered under the insurance policy, and failed t0


disclose   pertinent    information        regarding    damages        to    the    PLAINTIFF’S           property.


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                         conduct as


described herein   was   a producing cause 0f          damages        t0   PLAINTIFF        for   which she now

sues.   The conduct 0f       the   ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY         was more than          just     a   mistake,        and was     done “knowingly” and/or

“intentionally,” as those terms are derived              by     statute.    Because of       that,      ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY may                                          be subject to       liability for



additional   damages under the Texas Deceptive Trade                   Practices Act.       PLAINTIFF         seeks


an award of additional damages under the             DTPA       in   an amount not     to   exceed three times


the   amount 0f economic damages.

                                   VIII.    Unfair Insurance Practices


         ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                   failed to


inform   PLAINTIFF of material         facts,   such as the true scope 0f damage and cost t0 repair.


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                               failed to properly


process claims and have misrepresented material facts to the                       PLAINTIFF.           ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                                             has failed to address             all



damage     t0 the property    and    its   contents, causing ﬁlrther          damage    to the       PLAINTIFF.

Further,   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                       has


intentionally failed t0 fully investigate the loss; failed to properly                convey      all   information


to   PLAINTIFF; and has       intentionally ignored       damages          t0 the dwelling.        PLAINTIFF’S

property suffered      ﬁom   covered losses and damages of which                     ALLSTATE VEHICLE

AND PROPERTY INSURANCE COMPANY                                 is   ﬁllly aware.     ALLSTATE VEHICLE

AND PROPERTY INSURANCE COMPANY                                 has concealed damage               known by      it   t0
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exist.   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                             has   known

about covered water damages but has failed t0 perform proper testing and concealed facts


ﬁom PLAINTIFF            about the damages, ignoring PLAINTIFF’S plea for help.                    ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                                        has failed to warn    PLAINTIFF

of consequential damage              t0 their property.


         By    its    conduct outlined above,              ALLSTATE VEHICLE AND PROPERTY

INSURANCE COMPANY                        committed unfair practices           in the business      0f insurance

prohibited    by Chapter 541, Texas Insurance Code, and                    the statutes, rules and regulations


incorporated         therein.      ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY          committed the following                acts in Violation     0f Texas Insurance Code and

Texas Administrative Code:


(1)      ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                 failed t0,


         with good          faith,    effectuate      a prompt,   fair,    and equitable settlement 0f the

         PLAINTIFF’S            claims once liability became reasonable clear (Tex. Ins.             Code Ann.

         541.060(a)(2)(A);             Tex.    Ins.    Code   Ann.        542.003(b)(4);    28     TAC     section


         21.203(4));


(2)      ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                 failed to


         provide promptly to             PLAINTIFF        a reasonable explanation of the basis in the


         policy, in relation t0 the facts 0r applicable law, for denial               0f the claim 0r for the

         offer       of a     compromise        settlement     0f the       claim   (TeX.   Ins.    Code Ann.

         541.060(a)(3); 28           TAC   section 21.203(9));


(3)      ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                             refused to


         pay a claim without conducting a reasonable investigation with respect                            t0 that


         claim (TeX.        Ins.   Code Ann.    541.060(a)(7);    TAC      section 21.203(15));
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(4)   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                             breached


      its   duty of good   faith   and    fair   dealing at   common   law;


(5)   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                              failed to


      adopt and implement reasonable standards for the prompt investigation 0f claims


      arising under the insurer’s policies (Tex. Ins.              Code Ann.     542. 003(b)(3); 28    TAC

      section 21.203(3));


(6)   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                            compelled


      PLAINTIFF        to institute a suit to recover         an amount due under a policy by offering


      substantially less than the          amount ultimately recovered           in a suit   brought by the


      policyholder (Tex. Ins.        Code Ann. 542.003(b)(5); 28          TAC     section 21.203(6);


(7)   ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                              violated


      the   Prompt Payment 0f Claims Statute (28               TAC   section 21.203(18));


(8)   ALLSTATE           VEHICLE             AND        PROPERTY          INSURANCE            COMPANY
      committed the following unfair methods of competition or deceptive                            acts 0r


      practices in the business 0f insurance in Violation of Texas Insurance                      Code and

      the Texas Administrative            Code    by:


      (a)       ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

                made, issued       01‘   circulated or caused to be made, issued 0r circulated an


                estimate, illustration, Circular 0r statement misrepresenting With respect t0


                the policy issued 0r t0 be issued:


                (i)      the terms ofthe policy; and/or


                (ii)     the beneﬁts or advantages promised             by the   policy.
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          (b)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

                 made an       untrue    statement      0f material       fact    (Tex.    Ins.    Code Ann.

                 541.060(a)(1); 28      TAC   section   212030));

          (C)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

                 failed t0 state a material fact necessary t0         make       other statements    made not

                 misleading, considering the circumstances under which statements were


                 made; and


          (d)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

                 made      statements in a manner that would mislead a reasonably prudent


                 person t0 a   false   conclusion of material     fact.



          (6)    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

                 refused t0   make     a settlement offer under applicable ﬁrst-party coverage 0n


                 the basis that other coverage          may be    available 0r that third parties are


                 responsible    for the     damages      suffered,    except as       may       be speciﬁcally


                 provided in the policy (Tex.     Ins.    Code Ann 541 .060(a)(5); 28             TAC   section


                 21.20301);

ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S                                                  conduct as


described herein     was   a producing cause 0f      damages     to   PLAINTIFF,          for   which she now

SUSS.


                  IX.       Breach 0fthe Duty of Good Faith and Fair Dealing

          From and   after the time the    PLAINTIFF’S       claims were presented to             ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY,                                    liability to    pay the claims    in


accordance with the terms of insurance policies referenced above has been reasonably


clear.   Despite there being no basis whatsoever on which a reasonable insurance                     company
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would have     relied to       deny and/or delay payment           for   PLAINTIFF’S            claims,    ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                                         refused t0 accept the claims in


totality   and pay the PLAINTIFF as the policy required. At                            that time,          ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY knew                                                or should have       known

by the   exercise 0f reasonable diligence that              its liability   was reasonably       clear.    ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                                          failed to   conduct a reasonable


and proper inspection 0f the claims and reﬁJsed t0 rely on the true                        facts, resorting instead



to   producing     faulty, incomplete,           and biased reasons t0 avoid paying a valid claim. This

constitutes failing to handle 0r process the                      PLAINTIFF’S        claims in good           faith,   an


afﬁrmative duty placed on              ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY,           as expressly stated           by   the Texas    Supreme Court       in Vail       v.    Texas   Farm

Bureau, 754 S.W.2d 129                at   135 (TeX. 1988). Through the actions described above,


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                    breached    its   duty


t0 deal fairly      and   in   good    faith     With the PLAINTIFF.           ALLSTATE VEHICLE AND

PROPERTY INSURANCE COMPANY’S                                breach was a proximate cause of the losses,


expenses and damages suffered by the PLAINTIFF, for Which she sues.


              X.          Texas Insurance Code 542, Subchapter                 B   Delay   in   Payment

           PLAINTIFF gave prompt                 notice of their Claims t0      ALLSTATE VEHICLE AND

PROPERTY INSURANCE COMPANY. ALLSTATE VEHICLE AND PROPERTY

INSURANCE COMPANY                          has    engaged    in   unfair     settlement     claims practices,          as


discussed above and denied and/or has delayed payment on                                   PLAINTIFF’S             claim.


ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S                                                          reliance    on

reports and estimates           from   its   adjusters and investigating adjusters has                    been “merely

pretextual” and unreasonable.              ALLSTATE VEHICLE AND PROPERTY INSURANCE


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COMPANY’S               investigation and use of adjusters’ reports             was an “outcome-oriented

investigation."         ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY

failed t0   comply with the requirements 0f Chapter 542                 listed herein:



           (a)         Failing to     pay PLAINTIFF’S claim within 60 days of receiving                all   0f the

                       items, statements,       and forms required by the insurer t0 secure ﬁnal proof

                       of loss, of the acceptance or rejection 0f a claim; and


           (b)         Failing to request       all   0f the items, statements and forms the        ALLSTATE

                       VEHICLE AND PROPERTY INSURANCE COMPANY                                        reasonably


                       believed at the time would be required           ﬁom PLAINTIFF         to   pay the claim

                       within 15 days after receiving notice 0f the claim.


           Pursuant t0 Texas Insurance Code Chapter 542, Subchapter B,                         PLAINTIFF         is



entitled    t0    recover       ﬁom ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY the               statutory penalty       0f   5%   plus the interest rate determined under Section


304.003, Finance Code, 0n                 all   amounts due on PLAINTIFF’S claims, together with

attorney’s fees, for          which she   sues.


                                                              XI.


           PLAINTIFF           alleges that as t0 any terms, conditions, notices, or requests under the


insurance contract,            PLAINTIFF        has substantially complied and/or        is   excused. In the


alternative,      PLAINTIFF makes               the allegation of waiver and/or estoppel as t0 every


defense 0r exclusion plead by              ALLSTATE VEHICLE AND PROPERTY INSURANCE

COMPANY               as t0   any exclusion, condition, 0r defense pled by         ALLSTATE VEHICLE

AND PROPERTY INSURANCE COMPANY, PLAINTIFF would show that:
                 1.    The    clear   and unambiguous language 0f the policy provides coverage for


                       dwelling damage caused by water damage, including the cost 0f access t0




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                    ﬁx   the    damaged         areas.      Any      other construction of the language of the


                    policy     is   void as against public policy;


               2.   Any    other construction and                    its    use by    ALLSTATE VEHICLE AND

                    PROPERTY INSURANCE COMPANY                                       violates section 541     and 542 0f

                    the Texas Insurance              Code and        are void as against public policy;


               3.   Any    other construction violates Art.                     17.50 0f the Texas Business and


                    Commerce            Code,        is     unconscionable,          was     procured    by   fraudulent


                    inducement, and            is   void as against public policy;


               4.   Any   other construction               is   otherwise void as against public policy,         illegal,



                    and violates       state    law and administrative rule and regulation;


               5.   The adoption 0f any other construction                        constitutes wrongful 0r      bad    faith


                    cancellation         and/or           refusal      t0   renew     a    portion    0f PLAINTIFF’S

                    predecessor         policy        with       ALLSTATE VEHICLE AND PROPERTY

                    INSURANCE COMPANY.                              In this regard,       PLAINTIFF would show        that


                    his insurance policy             was renewed uninterruptedly              for   many years; and

               6.   The adoption of any other construction                      constitutes conduct in Violation        of

                    the laws of this state, including section 541 and 542 0f Texas Insurance


                    Code   is   void as against public policy.


        If this Court      ﬁnds any ambiguity                   in the policy, the rules       0f construction 0f such

policies   mandate the construction and interpretation urged by PLAINTIFF. In the

alternative,    ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                                          is



judicially,     administratively,          or        equitably         estopped      from     denying    PLAINTIFF’S

construction of the policy coverage at issue.                       To   the extent that the wording 0f such policy




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does not reﬂect the true intent of         all   parties thereto,   PLAINTIFF        pleads the doctrine of


mutual mistake requiring reformation.


                                         XII.   Exemplary Damages

          Plaintiff   would   further    show    that the acts    and omissions of Defendant and               its



agents, adjusters, employees and/or representatives complained of herein                  were committed

knowingly, willfully, intentionally, with actual awareness, and with the speciﬁc and


predetermined intention 0f enriching said Defendant                  at the   expense of the         Plaintiff. In



order to punish said Defendant for such unconscionable overreaching and t0 deter such


actions and/or omissions in the future, Plaintiff requests exemplary                  damages pursuant         t0


17.50(b)(1) ofthe Texas Business and             Commerce Code and            § 541.152(b)   of the Tex.     Ins.



Code.


                                                     XIII.


          WHEREFORE, PREMISES CONSIDERED, PLAINTIFF                                   respectfully requests


this   Honorable Court for the following          relief: that   upon ﬁnal hearing and       trial   hereof, this


Honorable Court grant         to the   PLAINTIFF such        relief as to     which she may show herself

justly entitled, either at law 0r in equity; either general           01‘   special, including declaratory


judgment,      judgment        against     the     ALLSTATE          VEHICLE          AND PROPERTY
INSURANCE COMPANY                 for actual attorney’s fees, cost          0f suit, mental anguish,      DTPA

Violations,   Texas Insurance Code Violations, statutory penalties, and pre-judgment and

post-judgment     interest, including     judgment     for additional   damages, and punitive damage

under the     facts set forth in this or         any amended pleading          in   exceeding the minimal


jurisdictional limits ofthe court.




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                                          XIV.    Jury   Demand

          PLAINTIFF      requests that this Court empanel a jury to          sit   in the trial   0f   this



matter.   The   requisite jury fee will   be paid as required by law.



                                  XV.       Requests for Disclosure

          Under Texas Rule 0f Civil Procedure         194,   PLAINTIFF    requests that   ALLSTATE

VEHICLE AND PROPERTY INSURANCE COMPANY                               disclose, within   50 days of the


service of this request, the information 0r materials described in Texas Rule of Civil


Procedure 194.


                                                     Respectfully submitted,



                                                     OMAR OCHOA LAW FIRM
                                                     121 N. 10th   St.

                                                     McAllen, Texas 78501
                                                     Telephone: (956) 630-3266


                                                     /s/   Omar Ochoa
                                                     OMAR OCHOA
                                                     State   Bar N0. 240798 1 3
                                                     oochoa@omaroch0alaw.com
                                                    ATTORNEYFOR PLAINTIFF




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                             Instructions      and Deﬁnitions

            “You” 0r “Your” means       the party responding t0 requests.


            “The Policy” means the insurance policy               that   is   the basis 0f claims      made
            against     ALLSTATE VEHICLE AND PROPERTY INSURANCE
            COMPANY in this lawsuit.
            “Insured Location” means the real property at the location described in the
            Policy declarations.


            “Dwelling” means the dwelling located            at the      Insured Location at the time
            of loss.

            “Other Structures” means any structures located at the Insured Location
            during that time that are set apart from the Dwelling by a clear space,
            including   those   connected only by a fence,                    utility   line,   or   similar
            connection.


            “Other Damages” means debris removal, temporary repairs, trees and
            shrub removal, personal property removal and storage, loss of use and
            additional living expenses.


            “Personal Property” means any 0r                all  0f the personal property and
            business personal property that         is   the subject 0f the claims made against
            ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                               in
            this lawsuit.


            “Your Counsel” means the attorney 0r attorneys who                      are representing 0r
            have represented you either with regard t0 the claim or                in this lawsuit.


            “The Claim” means the insurance claim made the basis 0f the breach 0f
            contract    claim   against       ALLSTATE VEHICLE AND PROPERTY
            INSURANCE COMPANY                 in this lawsuit.


      10.   “Written Communication” means the conveyance of information by a
            writing, Whether by letters, e-mails, memoranda, handwritten notes and/ 0r
            faxes.


      11.   “Document” means       letters,   words 0r numbers 0r their equivalent,              set   down
            by   handwriting,      typewriting,      printing,      photostating,        photographing,
            magnetic 0r electronic impulse, mechanical or electronic recording, 0r
            other form 0f data compilation. See Texas Rule 0f Evidence 1001                             (a).
            “Document” speciﬁcally includes information                   that exists in electronic 0r
            magnetic form.


      12.   “Witness Statement” means the statement 0f any person with knowledge
            of relevant facts, regardless of when the statement was made, and is a (1)


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            written statement signed or otherwise adopted 0r approved in writing            by
            the person   making0r (2) a stenographic, mechanical, electrical, 0r other
                                  it,

            type 0f recording 0f a witness’s oral statement, or any substantially
            verbatim transcript 0f such recording. See Texas Rule of Civil Procedure
             192.3(h).


      13.   “Date” means the exact date, month and year,        if ascertainable, 0r, if not,

            the best available approximation.


                                        INSTRUCTIONS

            You   are requested t0 produce photographs, Video recordings         and audio
            recordings that were created 0r stored electronically.


            Pursuant t0 Rule       196.4,   you   are requested t0   produce electronic 0r
            magnetic data responsive t0 the Request for Production below in       tiff or   pdf
            searchable format, including email, instant message and       pdf forms of the
            documents.




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                                      INTERROGATORIES


      Please identify any person you expect t0 call to testify the time of trail.


      ANSWER:

      Identify the persons involved in the investigation and handing of Plaintiff’s claim
      for insurance beneﬁts arising ﬁom damage during and include a brief description
      0f the involvement 0f each person identiﬁed, their employer, and date(s) of such
      involvement.


      ANSWER:

      If   you performed any      investigative steps in addition to      what   is   reﬂected in the
      claims ﬁle, please generally describe those investigative steps conducted by you
      0r any of your representatives With respect t0 the facts surrounding the
      circumstances of the subject      loss. Identify the   persons involved in each step.


      ANSWER:

      Identify   by   date, author,   and   result the estimates, appraisals, engineering,      mold
      and other reports generated as a       result   of your investigation.

      ANSWER:

      State the following concerning notice of claim          and timing of payment:

      a. The date and manner in Which you received notice 0f the claim
      b. The date and manner in Which you acknowledged receipt 0f the claim
      c. The date and manner in which you commenced investigation of the claim

      d. The date and manner in Which you requested ﬁom the claimant all items,

      statements, and forms that you reasonably believed, at the time, would be required
      from the claimant
      e. The date and manner in Which you notiﬁed the claimant in writing 0f the

      acceptance 0r rejection 0f the claim


      ANSWER:

      Identify   by   date,   amount and reason, the insurance proceed payments made by
      you   t0 the Plaintiffs.


      ANSWER:

      Has   Plaintiff’s   claim for insurance beneﬁts been rejected 0r denied? If            so, state
      the reasons for denying the claim.


      ANSWER:

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      Please     identify   the     written     procedures      0r    policies   (including    document(s)
      maintained in electronic form) you maintained for your internal or third party
      adjusters to use in connection with handling property and casualty claims.


      ANSWER:

      When was      the date   you anticipated        litigation?


      ANSWER:

10.   From November            1,   2010   to   the    present,      What documents (including those
      maintained electronically) relating to the investigation or handling of a claim for
      Windstorm insurance beneﬁts in Texas are routinely generated during the course
      0f the investigation and handling of a claim by you (e.g. Investigation Reports; z-
      records; reserves sheet; electronic claims diary; a claims review report; team
      controversion report)?


      ANSWER:

11.   Have any documents            (including those maintained electronically) relating t0 the
      investigation    or   handling       of   Plaintiff’s     claims    for    insurance    beneﬁts been
      destroyed 0r disposed of? If so, please identify what,               When and Why the document
      was destroyed, and describe your document                 retention policy.


      ANSWER:

12.   D0 you     contend that the insured premises was damaged by ﬂood water, storm
      surge and/ or any excluded peril? If so, state the general factual bases for this
      contention.


      ANSWER:

13.   D0 you contend that any act 0r omission by Plaintiffs voided, nulliﬁed, waived 0r
      breached the insurance policy in any way? If so, state the general factual bases for
      this contention.



      ANSWER:

14.   D0 you     contend that the       Plaintiffs failed t0 satisfy        any condition precedent or
      covenant 0f the policy in any way? If                 so, state the general factual     bases for this
      contention.


      ANSWER:

15.   How   is   the performance 0f the adjusters involved in handling Plaintiff’s claim
      evaluated? State the following:




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              what performance measures are used
      .U‘?’


              describe your bonus or incentive plan for adjusters
      c.      have any listed in response t0 requests for production had a criminal
              record/record 0f complaint With the Texas Department of Insurance,
              performed a Violation 0f company claim handling procedures


      ANSWER:




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                                          DEFINITIONS

                     you object to any of the items requested, you are instructed to
          In the event
furnish all other documents to which no objection is made. Also note that Rule 196.3(0)
provides that a party shall produce documents as they are kept in the usual course of
business 0r shall organize and label them to correspond With the categories in this
request.


          Please be advised that the undersigned intends t0 use the documents you produce
in   response t0 this request for production in any hearing or        trial   of this lawsuit. TEX. R.
CIV.    P. 193.7.


         1.     “You” 0r “Your” means    the party responding t0 requests.


         2.     “The Policy” means the insurance policy          that   is   the basis 0f claims      made
                against     ALLSTATE VEHICLE AND PROPERTY INSURANCE
                COMPANY in this lawsuit.
                “Insured Location” means the real property at the location described in the
                Policy declarations.


                “Dwelling” means the dwelling located        at the     Insured Location at the time
                of loss.

                “Other Structures” means any structures located at the Insured Location
                during that time that are set apart from the Dwelling by a clear space,
                including   those   connected only by a fence,                utility   line,   0r   similar
                connection.


                “Other Damages” means debris removal, temporary repairs, trees and
                shrub removal, personal property removal and storage, loss of use and
                additional living expenses.


                “Personal Property” means any 0r           all   0f the personal property and
                business personal property that    is   the subject 0f the claims           made     against
                ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY                                           in
                this lawsuit.


                “Your Counsel” means     the attorney 0r attorneys            who   are representing 0r
                have represented you either with regard t0 the claim 0r in              this lawsuit.


                “The Claim” means the insurance claim made the basis 0f the breach 0f
                contract claim against ALLSTATE VEHICLE AND PROPERTY
                INSURANCE COMPANY in this lawsuit.

         10.    “Written Communication” means the conveyance 0f information by a
                writing,Whether by letters, e-mails, memoranda, handwritten notes and/ 0r
                faxes.



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      11.   “Document” means       letters,   words 0r numbers 0r their equivalent,   set   down
            by    handwriting,    typewriting,      printing,   photostating,   photographing,
            magnetic or electronic impulse, mechanical or electronic recording, or
            other form of data compilation. See Texas Rule of Evidence 1001                  (a).
            “Document” speciﬁcally includes information            that exists in electronic 0r
            magnetic form.


      12.   “Witness Statement” means the statement 0f any person with knowledge
            of relevant facts, regardless of when the statement was made, and is a (1)
            written statement signed or otherwise adopted          01‘   approved in writing by
            the person   making0r (2) a stenographic, mechanical, electrical, 01‘ other
                                  it,

            type 0f recording 0f a witness’s oral statement, or any substantially
            verbatim transcript of such recording. See Texas Rule of Civil Procedure
             192.3(h).


      13.   “Date” means the exact date, month and year,           if ascertainable, or, if not,

            the best available approximation.


                                        INSTRUCTIONS

            You   are requested t0 produce photographs, Video recordings             and audio
            recordings that were created or stored electronically.


            Pursuant t0 Rule       196.4,     you   are requested t0     produce electronic or
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            searchable format, including email, instant message and pdf forms of the
            documents.




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                     REQUESTS FOR PRODUCTION OF DOCUMENTS

      The claim and underwriting ﬁles             ﬁom the home,     regional, local ofﬁces,   and third
      party adjusters/ adjusting ﬁrms regarding the claim that is the subject of this
      matter, including copies 0f the policy, ﬁle jackets, “ﬁeld” ﬁles and notes, and
      drafts   of documents contained       in the ﬁle.


      RESPONSE:

      The      electronic    diary,   including    the    electronic     and paper notes      made by
      ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY’S                                          claims
      personnel,     contractors,     and third party adjusters/ adjusting ﬁrms relating to
      Plaintiff s claims.


      RESPONSE:

      Your      written     procedures    0r policies     document(s) maintained in
                                                          (including
                                                 0f storm claims and complaints made
      electronic form) that pertain to the handling
      by policy holders in Texas ﬁom July 1, 2010 to date. If the party answering this
      request is an independent adjuster, produce the request documents for both the
      independent adjusting company and the party [carrier] that hired you with the
      respect t0 this claim.


      RESPONSE:

      The Operation Guides Which relate t0 the handling 0f claims in Texas in effect
      ﬁom July 1, 2010 to date. If the party answering this request is an independent
      adjuster, produce the request documents for both the independent adjusting
      company and the party [carrier] that hired you With respect to this claim.

      RESPONSE:

      The      adjusting     and   engineering      reports,    notes,    correspondence,     estimates,
      appraisals,     photographs        and/or    recordings     prepared    concerning    Plaintiff’s

      underlying claims.

      RESPONSE:

      If   you dispute the cause 0f the           loss   produce the engineering reports in your
      possession regarding damage t0 property Within a one-mile radius 0f the
      Plaintiff s insured property.


      RESPONSE:

      The   price guidelines that pertain t0 the handling 0f claims arising out 0f storm
      damage. In the event you         utilize   published guidelines 0r “off the shelf” software,
      without modiﬁcation, as your price guidelines, you may respond by simply
      identifying by name, version, and/or edition the published guidelines you use.




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      RESPONSE:

      The   Plaintiff s ﬁle   from the ofﬁce 0f their insurance             agent.


      RESPONSE:

      The information regarding weather and storm surge conditions 0n which you
              making decisions 0n the Plaintiff s claims.
      relied in


      RESPONSE:

10.   The documents, manuals, and            training materials, including audio/ 0r Video tapes
      used      in training, overseeing, 0r supervising        your personnel employed in adjusting
      property claims in Texas and in effect             ﬁom

      RESPONSE:

11.   “Pay sheet,” “Payment Log,” 0r            list   0f payments made on              Plaintiff’s claim. This
      includes      all   indemnity,    claim   expenses,       third       party payments        and   billing
      statements.


      RESPONSE:

12.   The documents reﬂecting reserves applied              t0 the subject claim.


      RESPONSE:

13.   For the past ﬁve years, the portions of the personnel ﬁle 0f the adjuster(s)
      involved       in   handling    Plaintiff’s      claim that pertain          in    disciplinary   actions
      associated with claims handling, and performance under a bonus 0r incentive
      plan.


      RESPONSE:

14.   The managerial and          adjuster bonus or incentive plan for managers responsible for
      storm claims in effect for the time period January               1,   2010   t0 date.


      RESPONSE:

15.   If    a    third    party   engineer    evaluated        the    subject      property,     provide   the
      correspondence          between        ALLSTATE                VEHICLE            AND      PROPERTY
      INSURANCE COMPANY                                             documents that
                                          insurer and third party adjuster and
      show the number of other matters in which the same engineers were retained by
      you to evaluate others properties over the past ﬁve years.

      RESPONSE:

16.   Copies of any and all documents that you contend support any afﬁrmative defense,
      which you allege applies t0 this action.




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